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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION



CORECO JA’QAN PEARSON,
VIKKI TOWNSEND
CONSIGLIO; GLORIA KAY
GODWIN; JAMES KENNETH
CARROLL; CAROLYN HALL
FISHER; CATHLEEN ALSTON
LATHAM; and BRIAN JAY VAN
GUNDY,

         Plaintiffs,
                                          CIVIL ACTION FILE
v.
                                          NO. 1:20-cv-4809-TCB
BRIAN KEMP; BRAD
RAFFENSPERGER; DAVID J.
WORLEY; REBECCA N.
SULLIVAN; MATTHEW
MASHBURN; and ANH LE,

         Defendants.



                                 ORDER

     The Eleventh Circuit Court of Appeals having dismissed the

appeals in this case, the Court sets the following revised scheduling

order:
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     Plaintiffs’ complaint shall come before the Court for hearing on

Monday, December 7, at 10:00 a.m., EST, in the ceremonial courtroom

on the 23rd floor.

     Defendants’ brief in opposition to the claims in Plaintiffs’

complaint will be due on Saturday, December 5, by 9:00 p.m. EST. Any

reply brief will be due on Sunday, December 6, by 6:00 p.m. EST.

Plaintiffs are also directed to file their response brief to the pending

motion [43] to dismiss by Sunday, December 6, at 6:00 p.m. EST.

     In light of the upcoming hearing, Defendants’ emergency motion

[52] to dissolve or alter the November 29 temporary restraining order is

denied. This renders moot the Gwinnett County Board of Registrations

and Electors members’ pending emergency motion [55] to intervene.

Therefore, that motion is denied.

     IT IS SO ORDERED this 4th day of December, 2020.



                                    ____________________________________
                                    Timothy C. Batten, Sr.
                                    United States District Judge




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